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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

                                   )
JUDITH PRINZO, on behalf of herself)
and all other employees similarly )
situated,                          )
                                   )
                    Plaintiffs,    )
                                   )
               v.                  )              CIVIL ACTION
                                   )              NO. 21-11901-WGY
HANNAFORD BROS. CO., LLC,          )
                                   )
                    Defendant.     )
                                   )


YOUNG, D.J.                                          March 29, 2022

                                 ORDER

     This matter is before the Court on Plaintiff Judith

Prinzo’s motion to remand.     Pl.’s Mot. Remand, ECF No. 9.          After

hearing arguments on March 24, 2022, this Court took the matter

under advisement.   Electronic Clerk’s Notes, ECF No. 22.

     The motion to remand is hereby DENIED.       The parties have

until April 12, 2022, to submit a joint proposed case management

schedule.



SO ORDERED.




                                             /s/ William G. Young
                                             WILLIAM G. YOUNG
                                             DISTRICT JUDGE
